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EXHIBIT 1
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FEMA - FLEETWOOD TRAILER
INSPECTION AND TESTING PROTOCOL
In Re: FEMA Trailer Formaldehyde Products Liability Litigation

Untied States District Court, Eastern District of Louisiana
MDL No. 1873

The Plaintiffs’ Steering Committee (“PSC”) will inspect and test the
travel trailer resided in by Plaintiffs, Elicia Dubuctet on behalf of her minor
child, Timia Dubuclet , Fleetwood Trailer, VIN # 4CJ1F322764015272,

(“The Trailer”), FEMA Bar Code #1373963. The Trailer is currently located at
a FEMA Storage Facility in Lottie, Louisiana, Inventory Location:

-Lot

1. Inspections:
a. General

i. Once FEMA has identified the Trailer, at least 72 hours in advance of
the testing, FEMA will allow a non-lawyer representative of the PSC
to access the trailer to document whether the Trailer doors and/or
windows are in the open or closed position. Photographs and/or
videotaping of the trailer will be taken by the representative upon
arrival at the Trailer;

ii. If any doors and/or windows are found in the open position, the
representative of the PSC will place them in a closed position.
Photographs and/or videotaping of the trailer will be taken after the
trailer doors and windows are closed, if necessary;

iii. The representative of the PSC will secure the unit by placing tape
necessary to ascertain whether or not the door and/or windows
have been opened by anyone once the unit has been closed up;

iv. The location of the Trailer for testing should have an area large
enough to adequately facilitate the inspection of the Trailer by those
involved. The condition of the location of the trailer will be assessed
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by this representative of the PSC who will immediately report to the
PSC (who will relay to the Department of Justice Counsel) whether
the unit is readily accessible. If access to the unit is restricted, FEMA
will attempt to get adjacent units moved prior to the scheduled
commencement of the testing;

Access to nearby restroom facilities is requested. Should access not
be provided or is not in close proximity to the Trailer, PSC will be
allowed to provide portable restroom facilities at the site of the
inspection and testing;

Estimated times do not include travel time from the entry gate of the
facility to the Trailer nor time taken for lunch;

. Times are estimates only. Actual testing and inspection times may

vary;

Once all exterior openings are deemed secure by the representative
of the PSC, no one will open the Trailer for at least 72 hours prior to
the start of the testing. FEMA will instruct all staff at the facility not
to access the unit until the PSC commences testing unless an
emergency situation arises requiring FEMA to access the Trailer. If
the Trailer is entered by anyone, FEMA will report this entry to the
Department of Justice Counsel who will relay this information to the
PSC;

Before any interior access is allowed, the initial inspection,
photographing, videotaping or any other recordings to be taken of
or at the exterior should occur;

All of the windows, doors and other openings to the exterior of the
Trailer shall remain closed for a minimum of 72 hours prior to the
PSC’s inspections;

Testing and inspection would begin at normal operating hours on
July ___, 2009;

Testing and inspections will be conducted during normal operating
hours over 2 days unless a third day is necessary to complete the
testing;

Day One of testing will be comprised of William Scott, P.E. and
Marco Kaltofen, P.E. entering the trailer to conduct active air
sampling and set 24 hour passive dosimeter tests, to take no longer
than an hour, and with the Trailer to subsequently remain closed for
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24 hours, with testing set to resume at approximately 9:00 a.m. CDT
the following day;

FEMA will be given 48 hours advance notice of all persons who will
access the site;

FEMA/Department of Justice will allow the PSC to have 2 attorneys
present at the inspection. Any other party may have one attorney
and any consultants they believe necessary to monitor the PSC’s
testing and inspection;

United States will be allowed to have one attorney plus any
expert/consults who have expertise related to type of testing being
performed present in trailer during any testing inside unit. Any
other defendants may have experts/consultants with expertise
related to type of testing being performed present in trailer during
any testing inside unit. PSC will announce at least 10 minutes in
advance what testing is going to be done prior to accessing interior
of unit and ascertain who will be entering the Trailer prior to
accessing the unit for purposes of that testing;

The testing and inspections will be done by PSC’s consultants,
employees of the consultants or others hired to test, inspect or —
perform other duties on behalf of the consultants or PSC;

Names of the participants will be provided to FEMA 48 hours in
advance of the testing; however, PSC and its consultants reserve the
right to add members to the inspection party as necessary
depending upon the findings and unanticipated needs discovered
during the testing and inspections. FEMA will attempt to
accommodate all such requests;

The PSC’s attorneys, consultants and other members of the
consultants party may be accompanied and directed to the Trailer
by a FEMA employee and these persons will agree not to talk with
any persons at the facilities about trailers or any matter that may in
any way relate to the MDL action;

All members of the inspection and testing parties agree to restrict
themselves to the area of the facility identified by FEMA as the
access route and area for the testing and inspection of the Trailer,
and the Trailer itself;

The only unit to be accessed will be the Trailer;
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XXX,

These persons will not access, seek to access, photograph, video
tape, record or inspect any other trailers or portions of the facility.
This does not include the incidental electronic or photographic
capture of any other unit, portions of the facility or other images
that may occur during or as a result of the photographing, video
taping or recording of the Trailer;

All persons electing to enter the Trailer for initial testing,
observations, photographing or to video the proceedings will
identify themselves to PSC’s counsel on site and to William Scott,
P.E. prior to the any initial entry into the Trailer by anyone;

PSC Counsel will announce the start of this set-up and testing. PSC
Counsel! will then open the Trailer door once for all concerned to
immediately and quickly enter the Trailer. Once set up for this
testing begins, no one will be allowed to enter or exit the Trailer.. All
doors and windows will remain closed during sampling;

The number of people entering into the Trailer for the initial indoor
air quality testing should be limited to counsel as previously
provided and only those experts or consultants qualified to perform
these tests. This will assist in eliminating any possible effects an
increased number of participants may have on the tests results;

All parties initially entering into the Trailer each day must enter as a
group at the same time. The door of the Trailer should remain open
for only as long as needed for group to enter expeditiously and will
remain closed thereafter until that phase of inspection or testing is
concluded;

The doar of the Trailer and all windows shall remained closed for
the entire duration of all the indoor air quality tests;

All parties, within fifteen days of making any videotapes,
photographs, or recordings, will provide to the other parties and
liaison counsel duplicates of those materials.

All parties agree to produce within ten days of receipt to all other
parties, copies of any and all documents and materials generated by
testing of samples collected from this Trailer; and

All non-governmental persons who enter the FEMA facility agree to
sign an indemnity/hold harmless agreement acceptable to all
parties prior to entering the property. The government agrees to
provide a copy of any indemnity/hold harmless agreement for
review and approval by the PSC and other participants by June 30,
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2009. All attendees must sign and date the agreement and email it
in a PDF format to FEMA/Department of Justice Counsel at least 48
hours before this testing.

b. Specific Non-Destructive Testing:

Action: Estimated Time: Estimated Personnel:
(times will over-lap) | (Not including Counsel or
Photographer /Animator)

Day 1: Set up and obtain active air 1.0 hours 2-3
sample(s) measurements inside Trailer,
set up passive dosimeter, leave trailer
closed for 24 hours.

Set up air sampling and measurement 0.5 hours 3-5
devices outside the Trailer.

Conduct air sampling (IAQ, formaldehyde | 2.0 hours 3-5
and other type) tests: outdoor and indoor
air testing. Access will be restricted
during these tests. Fests will be
performed by W. D. Scott Group, Inc.
and/or Boston Chemical Corporation to
determine the current air quality within
the Trailer.

Testing requires an undisturbed test area.
No movement into or out of the Trailer
will occur during this time.

Collect air sampling and measuring 0.5 hours 3-5
devices.

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Preliminary inspection, photographing, 2.5 hours All personnel
videotaping, measuring, and recording of
the exterior undercarriage, underbelly,
walls, windows, doors, envelope
penetrations, roof, accessories and
sealants. Removal of the roof top air
conditioning unit cover will be performed
to inspect and document the unit.

Temperature and Relative Humidity
monitoring devices will be set up on the
exterior and interior of the Trailer for
continuous readings throughout the
inspection and testing on a 24 hour basis.
This will be performed by First General
Services and Ritter Consulting or other
PSC-retained experts to provide data to
assist experts in compiling indoor
formaldehyde air quality assessments,

Installation of a logging velometer on the | 1.0 hours 1-3
interior of the Trailer in the locations
typically assigned for the placement of
formaldehyde badges. This will be
performed by First General Services or
other PSC-retained experts determine air
flow within the Trailer without the aid of
mechanical units or opening of
fenestrations.

Infrared thermographic survey will be 1.0 hours 2-3
performed by Lagrange Consulting and
First General Services or other PSC-
retained experts to document the
temperature differentials between the
interior and exterior surfaces of the
Trailer. This will identify potential air
leakage, moisture intrusion and water
intrusion into the unit.

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Taking of mold samples (if necessary)
will be performed by W. D. Scott Group,
Inc. and/or Boston Chemical, to obtain
bulk, surface and air samples, for viable
and/or direct laboratory analysis as
dictated by the conditions in the Trailer,
and to identify, quantify and classify any
possible surface microbial growth.

2.5 hours

3-4

Environmental walk through, survey,
photograph, and video of Trailer.

3.5 hours

Examination and documentation of the
interior and exterior construction means
and methods.

3.5 hours

Materials Audit and Measurements. Note:

measurements will be ongoing on the
exterior and interior of the Trailer
throughout the inspection period. This
will be performed by Dr. Stephen Smulski
or other PSC-retained experts to identify
the materials utilized in the construction
of the Trailer and to determine the
manufacturer and certifying agency of
each material.

3.0 hours

3-5

Observe and measure door and window
units for plumb and square positions.
Performed by David Moore, P.E. and First
General Services or other PSC-retained
experts.

2-3 hours

4-6

C. Air Sampling Protocol

i. Air sampling will be conducted in accordance with the Protocol
entitled Formaldehyde Sampling: Active and Passive Sampling
Protocols - Procedures for Evaluating Formaldehyde Levels in
FEMA Temporary Housing Units, prepared and developed by
DeVany Industrial Consultants, March 2008;
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i,

Measurements of the Trailer /Material Audit will be conducted so
as to catalogue components consistent with “Aldehyde and Other
Volatile Organic Chemical Emissions in four FEMA Temporary
Housing Units - Final Report,” by LBNL’s Randy Maddalena,
Marion Russell, Douglas P. Sullivan, and Michael G. Apte,
Environmental Energy Technologies Division, November 2008,
available at:

http: //www.cdc.gov/nceh /ehhe/trailerstudy/pdfs/LBNL-254E. pdf

("LBNL Report”), including measurements of each surface
material, component part and opening in the trailer.

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EXHIBIT 2
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445 Dolley Madison Rd, Ste. C.
Greensboro, NC 27410
336.931.5046

oo 888-WPH-0001
H YGIENE a www.workplace-hygiene.com

Fleetwood Air Sampling Protocol

Overview of Sampling Activities

Workplace Hygiene will collect active and passive integrated air samples to assess
formaldehyde levels inside of a Fleetwood unoccupied temporary housing unit (THU). The
integrated air samples will be collected and analyzed according to generally accepted
industrial hygiene practices. More specifically, the formaldehyde air samples will be collected
according to NIOSH Method 2016. Appendix A includes a copy of this method. Table 1
summarizes the sampling and analytical information for this method.

Table 1
Summary of # Formaldehyde Integrated Air Sampling Method- NIOSH 2016

thour_| Continuous | 2,4-DNPH coated silica gel tube’ | __ 1000 60 01 | 0.00013
24 hours Passive 2,4-DNPH coated fiberglass 13.05 18.8 0.1 0.0043
1 2,4-DNPH = 2,4-dinitrophenylhydrazine
2 LOQ = Limit of Quantitation defined as the lowest lével of analyte that can be accurately and precisely measured.
3 Reporting Limit = Minimum concentration that can be reported based on LOG and sample volume.

The reporting limits listed in Table 1 were calculated using the limits of quantitation (LOQs)
published by Galson Laboratories for formaldehyde and expected sample volumes using the
following standard industrial hygiene formulas:

- Quantify Found (ug) on media

Concentration (ug/L)

Sampling Rate (Limin} X Sampling Time (min)
Molar Volume 24.1 (Limole)

Concentration (ppm) Concentration (ug/L) X

Molecular Weight (g/mole) of Chemical

Immediately upon arrival at the THU, a 1-hour sample will be collected inside the unit to
evaluate formaldehyde concentrations prior to pre-conditioning. The sample will be collected at
the conditions at which.the THU is found. No attempt will be made to condition the air or
ventilate the interior before or during the initial 1-hour sample.

Prior to performing 24-hour sampling, the THU will be aired-out (ventilated) by opening all
windows and doors for approximately. 48 hours’, followed by. pre-conditioning for
approximately 48 hours at a thermostat setting of 75°F. Cabinet/closet doors will be open .
during the ventilation and preconditioning periods, but closed during | the testing period.

‘In the event of forecasted or actual precipitation, the exterior doors and windows may be closed to avoid water
intrusion into the THU. I this occurs, the date and time will be documented by the field personnel.
? If necessitated by access or other conditions, the airing out time may be reduced to a minimum of 24 hours.

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Exterior doors and windows will remain closed during the preconditioning and testing periods.

_If window coverings (e.g., shades or drapes) have been installed in the THU by the
‘manufacturer, they will be closed during the pre-conditioning and testing periods. If requested,
a list of non-built in furniture will be documented.

Once the THU has been ventilated and pre-conditioned as described above, 1-hour active
samples and 24-hour passive samples will be collected inside and outside of the THU. The
active samples will be collected on DNPH-treated silica gel tubes using air sampling pumps
that are calibrated to draw air through the sorbent tubes at a flow rate of 1000 milliliters of air
per minute. The passive samples will be collected using Assay Technology 571 passive
sampling badges. The indoor sample will be placed on a tripod in the approximate center of
the THU. The ‘Sample inlets will be piaced at approximately 4 feet from floor level.

All sampling activities related to this project will be documented on a Workplace Hygiene field
form (hardcopy or electronic). In the event of a pump failure, the sampling will be repeated.
Quality assurance/quality control samples will include one co-located duplicate sample with
each primary sample, one media blank, and one field blank. The primary samples will be
submitted for analysis unless they are damaged or jost, in which case, the duplicate samples
. will be submitted. Primary samples will have sample numbers ending with “A” and duplicate
. Sample numbers will end with “B’.

-Foliowing air sampling activities, measurements to evaluate the moisture content of building

materials will be collected throughout the THU. Ventilation measurements will also be
collected while the air-conditioning system is operating to evaluate differentials in 1 pressure
between the living space, walls, and outdoors.

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Pre-Sampling Activities

1. Locate air sampling equipment
_ a, Air Sampling Pumps ,
-b. SKC 226-119 Sorbent tubes (Formaldehyde)
¢. Single or dual SKC low flow adapier with flexible tubing attached
d. Assay Technology 571 Passive Badges
e.2 Tripods

2. Locate other supplies
a. Temperature and relative humidity datalogger or similar device (1 for indoor
monitoring)
‘b. Temperature and relative humidity datalogger or similar device (1 for outdoor
- monitoring)
c. Digital Camera

Activities performed immediately upon arrival at a THU

1. Record the following information on the field Form:

a. FEMA ID of the THU
“b. VIN number or other unique identifier of the THU

c. Manufacturer

d. Model

e. Year manufactured |

f. Location.

Take a photograph of the THU.

if available, take a photograph of the FEMA identification placard or VIN plate located in
the THU.

4. Place temperature and relative humidity datalogger or similar device on tripod at

outdoor testing location and allow at least 15 minutes for equilibration.

-5. Place air sample pumps on tripod and ensure the inléts for the sorbent tubes are
approximately 4 feet above the ground.

Decument the outdoor sample location on field form.

Begin outdoor temperature and relative humidity monitoring.

Conduct calibration of air sampling pumps at outdoor sample location and document on.
‘the air sampling form.

_ 9. Label air sampling media using pre-printed sample labels.

ON .

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initial Sampling Activities

_ Active 1-Hour Air Sampling
1. Enter the THU.:
2. Place the temperature/relative humidity datalogger inside the THU and allow at least 15
minutes for equilibration,
3. Conduct calibration of air sampling pumps at indoor sample location and document on.
‘the air sampling form.

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8.
Q.

Place integrated air sample pump on tripod and ensure the inlets for the sorbent tubes
are approximately 4 feet above the floor.

Place sampling tripod in THU and document on field form.

Place the temperature/relative humidity datalogger on the tripod and push the start
button.

Turn the sampling pumps on for the indoor and outdoor samples and allow them to
sample for 1 hour.

After 1 hour; stop the sampling pump and record stop time on air sample form.
Remove the sample sorbent tubés from the tube holders.

10. Affix the.appropriafe sample identification number to each tube.
11.{nstall caps on sample sorbent tubes and ensure integrity of the labels.
' 12. Place collected samples and blanks in a ziplock bag or other sealed container and store

on blue ice or in a freezer until the 24-hour sampling is completed and all samples can
be shipped to the laboratory.

THU Conditioning Activities

Ventilating

1.

2.

Immediately after 1-hour sample is collected and post-calibration is performed, open all
windows (including shades, drapes, and blinds), doors, and vents in the THU.
Keep all windows, doors, and vents open until conditioning phase begins. _

Conditioning

-OOARON =

Ensure generator is placed and electrical supply is established to THU.

Test HVAC system for proper function.

Repair or replace HVAC components as needed for proper operation.

Close exterior windows (including shades, drapes, and blinds), doors, and vents,
Start HVAC and place thermostat setting on 75°F.

Allow HVAC to run for 48 hours before conducting post-conditioning sampling.

Post-Conditioning Activities

Active 1-Hour Air Sampling

1.
2.

3.
4.

5,

Enter the THU.
Place the temperature/retative humidity datalogger inside the THU and d allow at least 15
minutes for equilibration.

‘Conduct calibration of air sampling pumps at indoor sample location and document on
_ the air sampling form.

Place integrated air sample pump on tripod and ensure the inlets for the sorbent tubes
are approximately 4 feet above the floor/ground.

Place sampling tripod in THU and document on field form.

Piace the temperature/relative humidity datalogger on the tripod and push the start
button.

Turn the sampling pumps on for the indoor and outdoor samples and allow them to
sample for 1 hour.

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8. After 1 hour, stop the sampling pump and record stop time on air sample form.

9. Remove the sample sorbent tubes from the tube holders.

10. Affix the appropriate sample identification number to each tube.

11. Install caps on sample sorbent tubes and ensure integrity of the labels.

12, Place collected samples and blanks in a ziplock bag or other sealed container and store
on blue ice or in a freezer until all samples can be shipped fo the laboratory.

Integrated 24-Hour Air Passive Sampling

Open foil pouch and remove monitor.
Discard pouch and product conditioners. -
Locate monitor ID numbers printed on back of monitor.
Enter monitor ID No.-and sample number on air sampling form. -
Attach clip to.Monitor.
Open flip-top sampler cap to reveal sampling holes.
Using a Zip tie, clip monitor to tripod approximately 4 feet from floor level.
Record sampling date and start time on air sampling form.
At the end of sampling, remove monitor and close the flip-top sampler cap securely.
10. Record stop time and date on air sampling form.
11. Place monitor in return pouch and close securely.
12. Ensure that the temperature and humidity data are downloaded from the dataloggers.
13. Collect 1 field blank and 1 media blank for each THU sampled.
14. Calculate average flow rates from pre and post calibration data and record on
‘calibration log.
15. Calculate sample volumes for each active sample and record on air monitoring log.
_ 16.Complete and sign laboratory chain of custody form.
17.Remove the pink copy and retain in job folder with field forms.
18. Ship samples (on blue ice) to the laboratory for overnight delivery..

SOEPNRARONS

Send samples under chain of custody to:

Galson Laboratories

6601 Kirkville Rd.

East Syracuse, NY 13057
Ph: 888-432-5227

Pressure Testing

1. After all air sampling has been completed and while the air-conditioning unit ts
operating, ventilation measurements will be made to evaluate pressure differentials
- between the inierior living space, wall cavities, and outdoors.
-2. The measurements will be made using manometers and rubber tubing.
' 3. The tubing will be placed in wall cavities by removing cover plates, positioning the
, tubing, and sealing the face of the opening with duct tape.
4. After measurements are made, the cover plates will be replaced.

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5. For comparison with outdoors, the tubing may be placed through window or storage
access openings and sealed with plastic sheeting and duct tape.

6. After testing is completed, the windows and/or doors will be placed back in the closed
position.

7. Pressure differentials will be documented on a Workplace Hygiene field sampling form.

Moisture Measurements
1. After all air sampling has been completed, moisture measurements will be made in

building materials throughout the THU using a 2-pin moisture meter.
2. Measurements will be documented as they are made.

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orkplace FORMALDEHYDE
HYGIENE : oo AIR MONITORING LOG

is Bits

Indoor Primary A
Initial
Date: Duplicate B
Outdoor Primary A
Initial
Date: Duplicate B
Indoor 4-hr. Primary A
Post-Conditioning .
: a
Date: Duplicate B
Outdoor thr. Primary A
Post-Conditioning
Date: Duplicate B
Indoor
24-hr. Badge Primary A
Post-Conditioning
StartDate: :
End Date: Duplicate B
Outdoor 24hr. .
Badge Primary A
Post-Conditioning
Start Date: .
End Date: Duplicate B
Location: Sampled by:
24-hour Sampling Start Date: _ | 24-hour Sampling End Date:
Indoor Sample Location: Date/Time Ventilation Began:
Indoor Sample Height: Date/Time Ventilation Ended:
Outdoor Sample Location: Date/Time Pre-Conditioning Began:
Outdoor Sample Height: Date/Time Pre-condition Ended:
A/C Type: (circle) Room Central A/C Thermostat Setting:

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@) Workplace

CALIBRATION LOG
HYGIENE
THU VIN#: Manufacturer: Location:
FEMA 1D#: Sampler ID: Calibrator ID:

1 fir. Initial Indoor A f I i
1 hr. Initial Indoor
Duplicate B / ! /
1 hr. Initial Outdoor A f i f
1 hr. initial Outdoor
Duplicate B ! f !
1 hr. Post-Conditioning Indoor A i i i
1 hr. Post-Conditioning Indoor ~ B / } }
Duplicate
1 hr. Post-Conditioning Outdoor A i i /
1 hr. Post-Conditioning Outdoor B ! ! !
/ Duplicate
Pre-Calibrated By: Date:
| Post-Calibrated By: Date

ap HI U

Indoor Temperature /Relative Start Time:

Humidity Datafogger Serial Number: Stop Time:

Outdoor Temperature /Relative Start Time:

Humidity Datalogger Serial Number: Stop Time:

indoor Temperature /Relative Start Time: Wet Bulb Temp. (°F)

Humidity Direct-Read Serial Number: Stop Time: Dry Bulb Temp. (°F) % RH:
Outdoor Temperature /Relative Start Time: Wet Bulb Temp. (°F)

Humidity Direct-Read Serial Number: Time:

Stop
Se

Indoor Temperature /Relative Start Time:

Humidity Dataloager Serial Number: Stop Time:

Outdoor Temperature /Relative Start Time:

Humidity Datalogger Serial Number: Stop Time:

indoor Temperature /Relative- Start Time: Wet Bulb Temp. (°F):

Humidity Direct-Read Serial Number: Stop Time: Dry Bulb Temp. (°F): % RH:
Outdoor Temperature /Relative Start Time: Wet Bulb Temp. (°F):

Humidity Direct-Read Serial Number: Stop Time: Dry Bulb Temp. (°F): % RH:

neral rvations:

Describe any odors in the THU:

Household products, non-built-in furniture, or other sources of formaldehyde:

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. @ Workplace ne VENTILATION
HYGIENE : -- - SURVEY WORKSHEET
Test . - Pressure Differential
Number _Description (“wg)

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EXHIBIT 3
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Appendix A
NIOSH Method 2016 _

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FORMALDEHYDE _ 2016
H,C=O0 MW: 30.03 CAS: 50-00-0 RTECS: LP8925000
METHOD: 2016, Issue Z EVALUATION: FULL issue 1: 15 January 1998

issue 2: 15 March 2003

OSHA: 0.75 pom; 2 ppm STEL PROPERTIES: Gas; BP -19.5.°C: specific gravity 1.067
NIOSH: 0.016 ppm; C 0.1 ppm; carcinogen {air = 1); explosive range 7 to 73% (viv) in
ACGIH: C€ 0.3 ppm; suspected human carcinogen air

{1 ppm = 1.23 mg/m? @ NTP}

NAMES & SYNONYMS: methanal; formalin {aqueous 30 to 60% wiv formaldehyde); methylene oxide

SAMPLING MEASUREMENT
SAMPLER: CARTRIDGE TECHNIQUE: HPLC, UV DETECTION
(Cartridge containing silica gel coated with .
2,4-dinitrophenylhydrazing) . ANALYTE: 2,4-dinitrophenylhydrazone of

. . formaldehyde
FLOW RATE: 0,03 to 1.5 Limin :
EXTRACTION: - Elution with 10 mi of carbonyi-free

VOL-MIN: 1. @ 6.25 mgim , acetonitrile
“-~MAX: 15 L @2.5 mgim®
wo INJECTION
SHIPMENT: Place caps onto cartridge. Ship onice, . VOLUME: 20 pk
SAMPLE , . MOBILE PHASE: 45% acetonitrile/55% water (v/v),
STABILITY: 34 days @5°C (1! : 1.3 mLfmin
BLANKS: 2 to 10 field blanks per set COLUMN: 3.9 x 150-mm, stainless stee!, packed
6 to 10 media blanks per set ' with 5-ym C-18, Symmetry™ ar
equivalent
ACCURACY DETECTOR: UV @ 360 nm
: So ified with standard solutions
_ RANGE STUDIED: 0.025 i0 2.45 mg/m (22-L samples) [2] | CAUBRATION: Samplers lilies wit =
BIAS: +4.4% RANGE: 0.23 to 37 ug per sample [1,2]
OVERALL ESTIMATED LOD: 0.07 yg/sample [1]

PRECISION (8,,): | 0,057 [1,2]

ACCURACY: 419.0% | PRECISION (8): 0.032 @ 1.0 to 20.0 pg/sample [1]
. . ‘oO

APPLICABILITY: The working range is 0.015 to 2.5 mg/m? (0.012 to 2.0 ppm) for a 15+L sample. This method can be used for
the determination of formakehyde for both STEL and TWA exposures [1,2].

INTERFERENCES: Ozone has been observed to consume the 2,4-dinitrophenylhydrazine (2,4-DNPH) reagent and to degrade
the formaldehyde derivative [3]. Ketones and other aldehydes can react with 2,4-DNPH; the derivatives produced, however, are
separated chromatographically fram the formaldehyde derivative.

OTHER METHODS: NIOSH methods 2541 [4] and'3500 [5] and OSHA method 52 [6] are other methods for determination of
formaldehyde in air. NIOSH method 5700 employs 2,4-DNPH and HPLC for determination of formaldehyde on textile or wood
dust [7]. A journal method employs the same procedure for formaldehyde in automobile exhaust [8).

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REAGENTS:

1.

ee

Formaldehyde stock solution,* aqueous,
standardized, 1 mg/mL (see APPENDIX A).
Alternatively, standardized formaldehyde
-solution, aqueous, 4 mg/mL, is available
commercially from Hach Co., Loveland, CO.
Acetonitrile,* distilled in glass, low carbony!
content.**

Water, deionized and distilled:

Sulfuric acid, 0.02 N (pH standardization
procedure) or 0.1 N (colorimetric procedure}.
Sodium hydroxide, 0.01 N.

Sodium sulfite (Na,SO,), 1.13 M (pH
procedure) or 0.1 M (colorimetric procedure).
Prepare fresh immediately before use.
-Thymophthalein indicator solution, 0.04%
(w/v) In 50:50 ethanol:water.

See SPECIAL PRECAUTIONS.

Carbonyl content of acetonitrile can be
determined by passing 10 mL of the solvent
through a cartridge of DNPH-coated silica gel
and analyzing by HPLC. Formaldehyde
‘content should be below the LOD.

EQUIPMENT:

1.

Sampler. Plastic holder containing 0.35 g of

150-250 pm (60-100 mesh) silica gel coated

with 1.0 mg of acidified 2,4-

dinitrophenylhydrazine. Pressure drop across

sampler should be less than 28 inches of

water (7 kPa) at 1.5 L/min. Samplers are

commercially available, [Supelco S10

LpDNPH cartridge, cat. No. 2-1014; Waters

Corp. Sep-Pak XPoSure Aldehyde Sampler,

part No.WATO47205; see APPENDIX 8 for

SKC sampler].

Personal sampling pump, 0.03 to 1 5 Limin

with flexible connecting tubing.

Vials, 4-mL, glass with PTFE-lined rubber

septa caps.

Vials, 20-mL, glass.

NOTE: Do not use vials with “polycone”
liners (sources of high formaldehyde :
blanks )[5, 9].

Liquid chromatograph with UV detector,

recorder, integrator, and column (page

2016-1).

Syringes, 100-UL, 500-uL and 10-mL.

Volumetric flasks, 10-mL, 25-mL, and 1-L.

Burets, 50-mL.

pH meter.

. Magnetic stirrer.

. Beaker, 50-mL.

. Flask, Erlenmeyer, 250-mL.

. Ozone scrubber (Waters Corp.)(optional).
. Aluminum foil or black electrical tape

(optional).

SPECIAL PRECAUTIONS: Formaldehyde is a suspect carcinogen and a proven human sensitizer; it
should be handied in a fume hood [10-12]. .
Acetonitrile is toxic and is a fire hazard (flash point = 12.8 °C).

. SAMPLING:

1.

2.
3.

Calibrate each personal sampling pump with a representative sampler (and ozone scrubber, if used) in

line.
Open sampler packet and remove end caps.

Attach sampler to the sampling pump with flexible tubing. The Waters sampler | is bi-directional and can

be connected at either end.

NOTE: The sampler does not have a backup section for determination of breakthrough.

lf high

concentrations of aldehydes and ketones are anticipated, connect two samplers in series. The
back pressure of the sampling train will be higher and a lower flow rate may be required.

. Sample 1 to 15 L of air at 0.03 to 1.5 Lémin.

NOTE: To protect from intense light, such as bright sunlight, the sampler can be wrapped with aluminum

foil or electrical tape.

Place end caps onto the sampler and seal sampler in an envelope. Protect samples from heat.

Ship sam ples on ice ° © °C).

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SAMPLE PREPARATION: ‘

NOTE: Check acetonitrile for formaldehyde content by elution and analysis of a blank cartridge; the
formaldehyde level should be below the detection limit. Since background levels of formaldehyde
on the samplers may change during storage, compare samples with sampler blanks from the
same lot. Samples and blanks should be stored under the same conditions.

7. Elute the formaldehyde derivative from the cartridge samplers with 10-mL quantities of acetonitrile.

a. Collect effluent from each sampler in a 10-mL volumetric flask.

b. Add acetonitrile to the mark for each sampler. /

NOTE: The silica gel bed of the sampler wiil retain approximately 0.5 mL of the original 10 mL.

CALIBRATION AND-QUALITY CONTROL:

8, Calibrate daily with at least six media working standards over the range of interest.

a. Prepare a series of aqueous formaldehyde solutions for the fortification of samplers. Suggested
concentrations include.1, 4, and 20 pg/mL. See APPENDIX A for standardization of formaldehyde in
water.

b. Connect the outlet of a ca riridge sampler to a personal sampling pump with flexible tubing. Turn on

“ the pump and make sure there is a flow of air through the sampler.

c. Load a 100-uL syringe with a selected volume of aqueous formaldehyde solution in the range of 30
to 90 pL. Suggested quantities of formaldehyde for spiking include 0.04, 0.10, 0.20, 0.30, 0.40, 0.80,
1.0 and 2.0 pg/sample.

d. Place the tip of the syringe needle against the frit in the inlet ofthe samplerand ejectthe formaldehyde

solution.

Prepare the media working standard (steps 7.a and 7.b).

Prepare additional working standards (steps 8.b. through 8.¢.).

Transfer 3-mL aliquots of working standards to 4-mL vials, and analyze (steps 10, 12 and 13).

Prepare calibration graph, peak area or height vs. yg formaldehyde per sample.

9. Fortify and analyze three quality control spikes and three analyst spikes to ensure that calibration graph
is in control.

Tio oO

MEASUREMENT:

10. Setliquid chromatograph according to manufacturer's recommendations and to conditions given on page
. 2016-1. ,
11, Transfer a 3-mL aliquot of the sample solution from step 7 to a 4-mL vial. Cap the vial.
- 12. Inject a 20-LL sample aliquot.
13. Measure peak area or peak height.
' NOTE 1: If sample peak is larger than the largest standard peak, dilute an aliquot of the remaining
sample solution, reanalyze, and apply appropriate dilution factor in the calculations.
NOTE 2: To ensure validity of the samples, identify those samples which contain more than 37 yg of
, formaldehyde, The capacity of the samplers before breakthrough may have been exceeded
for these samples, and collection of smaller samples would be warranted.
NOTE3: The size of the 2,4-DNPH peak should be about 2.7 times the size of the formaidehyde-DNPH
peak or larger. Otherwise, breakthrough from the sampler may have occurred.

CALCULATIONS:

14. Determine mass, pg, of formaldehyde, W, found in the sample and the average media blank, B, from the
' calibration graph. ©

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15. Calculate concentration, C, of formaldehyde in the air volume sampled, V (L).

W-SB
C= ——, me lune
v

NOTE: pg/L = mg/m?

EVALUATION OF METHOD:

Issue 7

This method was originally evaluated with Waters Sep-Pak XPoSure Aldehyde samplers using data produced
at NIOSH and at Waters Corporation [2]. Test atmospheres of formaldehyde were generated at Waters
Corp. [2]. Overall measurement precision, §,,;, was 0.057 based on NIOSH quidelines [13] including a 5%
pump errorfactor and estimated bias of +4.4%. Sample storage stability was evaluated over the range of 0.5
to 55 ug formaldehyde/sample. Losses for Waters samplers were 4 to 8% when stored up to 14 days at4 °C.
An additional study with Waters samplers found thatlosses were 5% or less after4 days of storage atambient
temperature. All calibration standards used at Waters Corporation were liquid standard solutions of
formaidehyde-DNPH derivative in acetonitrile [2,14].

The capacity of DNPH-coated silica gel samplers was found to vary with relative humidity (RH} in addition to
concentration of formaldehyde. At a formaldehyde concentration of 1.2 mg/m? and at5% breakthrough, the
Waters sampler had a capacity at <10% RH of 55 pg, and at>85% RH a capacity of 77 pg. At2.4 mg/m? and
<10% RH, the 5% breakthrough capacity of the Waters sampler was 59 ug of formaldehyde. At 2.6 mgim*
and >85% RH, the 5% breakthrough capacity was 106 pg. Thus, the smallest capacity ai 5% breakthrough
was 55 wg of formaldehyde; the upper limit of the range of the method is two thirds of 55 ug, or 37 yg.
Capacity information for the Waters sampler is applicable fo the Supelco sampler because (a) the Waters and
Supelco samplers contain 0.9 and 1 mg of DNPH, respectively, and.(b) each sampler contains 350 mg of
silica gel.

Issue 2

In subsequent work on this method, additional formaldehyde samplers were evaluated, Supelco $10 LpDNPH
cartridges and SKC, Inc. Aidehyde samplers (DNPH-coated silica gel tubes No.226-119) [1]. The'sorbent
beds of Supelco and Waters cartridges and front sections of SKC samplers were treated with acetonitrile.
Formaldehyde was not detected on any blank sampler (LOD = 0.01 ,)g/mL). The SKC sampler for aldehydes
may be used for formaldehyde with modifications of this method (See APPENDIX B). However, evaluation
of the SKC sampler at NIOSH has been limited.

Supelco samplers were fortified with known quantities of free formaldehyde in water, and calibration was

. performed with media standards prepared from Supelco samplers fortified with known quantities of free

‘ formaldehyde in water; average recoveries ranged from 96.3% to 99.3% for five levels at 1.00 to 20 pg of
formaldehyde per sampler (pooled S, = 0.0316; n = & at each level).

In a storage study, six Supelco samplers were fortified with 4-~g quantities of free formaldehyde in water.
Samplers were stored 34 days at 5 °C in the dark; the average recovery based on media standards was 99%
(S, = 0.074).

Eightmedia standards were prepared by fortification of Supelco samplers with solutions of free formaldehyde
in water. The solutions were drawn through the DNPH-coated silica gel beds with an airpump, The resulting
LOD and LOQ were 0.07 and 0.23 pg/sample, respectively, according fo a least squares calibration graph.

Standard solutions of formaldehyde-DNPH at 0.10 and 1.0 ug/mL (formaldehyde equivalent concentrations)
were stored in airtight vials at 5 °C in the dark and were analyzed periodically. The standard solutions were
found to be stable (with no detectable loss} for at least 10 weeks and at least 12 weeks, respectively.

Itis suggested that the reader see the Backup Data Report for a comparison of media standards with liquid
.. Standards for calibration [1]. Air sampling for a 24-hour period can be performed with a single Supelco
sampler. Thus, background levels at <1 ppb can be determined. ,

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| METHOD REVISED BY:

Samuel P, Tucker, Ph.D., NIOSH/DART.
Method originally written by P lraneta, Waters Corp., MJ ‘Seymour and ER 2 Kennedy, Ph.D., NIOSH/DART.

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APPENDIXA- PREPARATION AND STANDARDIZATION OF FORMALDEHYDE STOCK SOLUTION
(ca. 1 mg/mL) -

Preparation. Dilute 2.7 mL 37% aqueous formalin solution to 1 L with distilled, deionized water, This solution
is stable for at least three months when stored at room temperature.

‘Standardization by pH Titration.

Place 5.0 mL of freshly prepared 1.13 M sodium sulfite solution in a 50-mL beaker and stir magnetically.
Adjust pH to between 8.5 and 10 with base or acid. Record the pH. Add 3.0 to 12.0 mL formaldehyde stock
‘solution. The pH should now be greater than 11. Titrate the soiution back to its origina! pH with 0.02 N
sulfuric acid (1 mL acid = 0.600 mg formaldehyde; about 17 mL acid needed). Ifthe endpoint pH Is overrun,
back-titrate to the endpoint with 0. 01 N-sodium hydroxide. Calculate the concentration, c, (mg/mL), of the
formaldehyde stock solution:

200(AeVa- Neve) ©
Cy = ( a ») mg imi
. s

- Where: 30.0 = 30.0 g/equivalent of formaldehyde
N, = normality of sulfuric acid (0.02 N}
V, = volume of sulfuric acid (mL) used for titration
N, = normality of NaOH (0.01 Nj
V, = volume of NaOH (mL) used for back-tifration
V, = volume of formaldehyde stock soiution (mL)

Standardization by Colorimetric Titration.

Place 50 mL of freshly.prepared 0.1 M sodium sulfite and 3 drops af0. 04% thymophthalein indicator (w/v) in.

50:50 ethanol:water into a 250-mL Erienmeyer flask. Titrate the contents of the flask to a colorless endpoint
- with 0.1 .N sulfuric acid (usually 1 or 2. drops is sufficient}. The indicator is blue at pH values above the

endpoint and is colorless at pH values below the endpoint. Transfer 3.0 to 12.0 mL of the formaldehyde

solution to the same fiask and titrate the mixture with 0.1 N sulfuric acid to a colorless endpoint. Calculate

the concentration, C (mg/mL), of formaldehyde in solution.

30.0( Nave
C= 300M a) og fmL
Ws
Where: 30.0 = g/equivalent of formaldehyde
‘"  N, = normality of sulfuric acid (0.1 N)
Va = volume of sulfuric acid used for titration (mL)
V; = volume of formaldehyde stock solution {mL)

NOTE: Sulfuric acid (0.1 N) is substituted for 0.1 N hydrochloric acid, which is specified. in OSHA
Method 52, in order to prevent possible formation of bis(chloromethy)ether, a potent
carcinogen, by reaction of formaldehyde with hydrochloric acid [12}.

«

This colorimetric titration was adapted from OSHA Method 52 [5], which was based on the procedure of -
Walker [15].

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APPENDIX B- USE OF SKC SAMPLER FOR FORMALDEHYDE

The SKC, Inc. sampler for aldehydes (DNPH-coaied silica gel tube, catalogue No. 226-119) may be used
for sampling formaldehyde with modifications of this method. These modifications include the following:

- (a} The maximum recommended air volume should be less than 15 L at an air concentration of 2.5
mg/m? (indicated on page 2016-1}, because the upper limit of the method for the SKC sampler
is probably less than 37 yg.

(b) The procedure for recovery of analyte from the sorbent would be modified, ie., placement of the
sorbent sections in vials, addition of solvent, and possible use of an ultrasonic bath.

(c) A volume of solvent much less than 10 mL can be used for recovery. However, the minimum
volume should be tested for adequate recovery.

(d} Consequences of using a much smaller volume of solventfor recovery include a lower LOD and
LOQ, the need for a different range of calibration standards, and the need fer a differant range
of fortification levels (step 8).

(e) The maximum volume of solution for fortification of the front sorbent bed must be less than

* 90 uL and should be determined (step 8).

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EXHIBIT 4
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AFFIDAVIT OF WILLIAM D. SCOTT, PE, CHMM_

STATE OF LOUISIANA
PARISH OF ORLEANS

BEFORE ME, the undersigned Notary, appeared on this the 17" day of July, 2009, William D. Scott, PE,
CHMM, a person whose identity is known to me. After being sworn under oath, he stated as follows:

1. My name is William D. Scott, PE, CHMM. I am over 21 years of age and am competent to give -
this affidavit. Unless otherwise noted, the facts contained in this affidavit are based on my
personal knowledge.

2, Tam a registered professional Environmental Engineer in the states of Louisiana, Mississippi, and
Missouri. I am the principal of the W. D. Scott Group, Inc., a professional environmental
engineering and consulting firm that, for nearly thirty years, provides hazardous materials
evaluation and consulting services to the public and private sectors. These services include the
management of hazardous and toxic materials and wastes, regulatory compliance programs,
environmental technical direction for many hazardous/toxic materials release incidents at
transportation and industrial incident sites, hazard evaluations, exposure controls, occupational
safety and health, and technical and regulatory compliance training. I have more than thirty years

- personal and direct experience in the above mentioned areas. I have completed post-graduate
courses and seminars in chemical toxicology, occupational and public environmental safety and
health, chemical exposure assessment, indoor air quality, air contaminant sampling methodology,
exposure recognition, and hazardous materials evaluation and control. Throughout this period,
have personally conducted and directed the use of field air sampling, laboratory report
interpretation, and field investigative techniques to determine the source and origin of
environmental contaminants. Further information on my background and experience is contained
in my resume as Attachment 1 herein.

3. Background - The objective of the following study is to quantitatively determine the airborne
concentrations of Formaidehyde in one (1) Federal Emergency Management Agency (FEMA)
temporary housing unit (THU). The THU in question is identified as follows:

A. THU Identity - The THU is designated by the following information:

Manufacturer: Fleetwood Travel Trailers of Texas, Inc.
Medel: N/A
Date of Manufacture: 03/06
Vehicle Identification Number: 4C31F322764015272
. FEMA Identification Number: 1373963
s THU Size (nominal): 8' x 28"

B. Occupancy - The THU was occupied by the Dubuclet family during the period of June,
2006, through September, 2007.

Cc. Configuration - The THU is configured as three (3) rooms: Bedroom, Bathroom, and
Kitchen/Living Room (with slide-out). It is designed as Americans with Disabilities Act
compliant housing. Floorplan drawings are contained in Attachment 2, Photographs are
contained in Attachment 3.

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AFFIDAVIT OF WILLIAM D. SCOTT, PE, CHMM

Preliminary Site Visit - The THU was visually inspected by Williarn D. Scott at the
FEMA THU Storage Facility, 5310 Old State Highway, Lottie, Louisiana, ‘70756, on July
2, 2009, Mr. Tony Watson (Workplace Hygiene) witnessed the visual inspection. The _
THU was found to have intact windows, doors, and outer membrane. The door, all
windows, and ventilation openings were closed, Security tape was installed on the door
and windows to validate the closure of these openings until the date of the Sampling and
Inspection event.

. Glass debris was found on the Kitchen counter in the space between the sink and cooktop

insert. This debris, based on morphology, suggests that a glass envelope, similar to that
used for active (tube) sampling, was opened at the counter location. This.debris was
noted and photographed in the course of the Preliminary Site Visit.

THU Sampling Location - The THU was sampled on July 8" and 9", 2009, The THU
was located at the FEMA THU Storage Facility, 5310 Old State Highway, Lottie,
Louisiana, 70756, at the time of the Sampling Event.

Notice Inside Trailer - The THU contained one Notice installed on the interior side of
the medicine cabinet. The notice is 6" x 3 1/2". A photograph of the Notice is contained
in Attachment 6,

FEMA Job Hazard Analysis ~ A job hazard analysis (JHA) is a safety evaluation technique that
focuses on work tasks as a means to identify physical, electrical, chemical, fire, or other hazards
before they occur. It evaluates the relationship between the worker, task, tools, and the work
environment, It identifies uncontrolled hazards and requires procedures and precautions to
eliminate hazards or to reduce risk to an acceptable level. The FEMA Job Hazard Analysis, dated
07/06, for the task of Trailer In-Bound Inspection (new trailer), under the activity of Entering
new trailers/mobile home (sic), identifies the following parameters, in addition to trip/slip,
repetitive motion, and lifting:

A.

Physical Hazard or Chemical : Formaldehyde off gassing from building materials
including plywood, crush-board, urea formaldehyde foam, insulation (UFFD), ete.(new
trailers)

Potential Injury: Formaldehyde exposure, inhalation, Cancer

_Coutrol Type: Ventilation, PPE-respiratory protection, Rotation

Type of Training Required: Formaldehyde awareness in accordance with
OSHA 1910.1048

Frequency and/or duration of exposure: 480 min/day

Occupational Exposure Limit (if applicable): OSHA PEL TWA 0.75 ppm, OSHA
Action Level 0.5 ppm, ACGIH Ceiling 0.3 ppm
A copy of the FEMA Job Hazard Analysis is contained in Attachment 8.

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AFFIDAVIT OF WILLIAM D. SCOTT, PE, CHMM

5 Formaldehyde - Formaldehyde is a colorless, flammable, acrid, pungent-smelling gas. The
chemical formula for formaldehyde is HCOH and its molecular weight is 30.03 grams per mole,
Formaldehyde’s CAS is 50-00-0.!

6. Potential Formaldehyde Sources - Hardwood plywood, particleboard, and medium-density
fiberboard (MDF) release formaldehyde. Cabinets, countertops, shelving, doors, wall paneling,
furniture, and floor underlayment are all potential formaldehyde sources, The origin of the
formaldehyde vapor is urea formaldehyde (UF) adhesive. UF adhesive is used to bond veneers,
wood particles, and wood fibers. Melamine formaldehyde adhesives are used to bond vinyl -
overlays and hardwood veneers to particleboard and hardwood plywood. During fabrication and
curing of these materials, the majority of the formaldehyde becomes part of the adhesive matrix,
A small amount of formaldehyde, however, attaches directly to the wood without reacting. This
“free” formaldehyde can be later released when ambient conditions become favorable.

THU manufacturers commonly use pressed wood products such as particleboard, plywood, and
MDF as building materials and finishes, These materials may be used in sub-floors, walls,
cabinetry and furniture. In addition, some formaldehyde-containing upholstery, fabrics, and
carpeting are also used in the manufacture of THUs. Countertops, carpeting and the above-listed
wood products are commonly installed using formaldehyde-based giues and adhesives.”

7. Formaldehyde Exposure Standards - The following formaldehyde exposure standards have
been published by regulatory agencies, advisory agencies, and health and safety professional
organizations.

A. Occupational Safety & Health Administration (OSHA), US Department of Labor;
Workplace Exposure Standard 3 -

Permissible Exposure Limit:
Time-Weighted Average (TWA) (8-hours) - 0.75 parts per million (ppm)

Short Term Exposure Limit (workplace allowable exposure for 15 minutes
followed by 1.75 hours of no exposure) - 2 ppm

ot Lewis, Sax's Dangerous Properties of Industrial Materials Tenth Edition and Hawley’s Condensed
Chemical Dictionary Thirteenth Edition, Wiley, Hoboken, NJ, 2000.

? USEPA, Indoor Air Quality - Basic Information - Formaldehyde, Washington DC, 2007
http://www.epa. gov/iaq/formalde.html

3 USDOL, OSHA, OSH4 Formaldehyde Standards Washington DC, 2008
http://wvvw.osha.gov/SLTC/formlaldehyde/standards.html

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8, American Conference of Governmental Industrial Hygienists (ACGIH); Workplace

Exposure Standard 4

Threshold Limit Value - Short Term Exposure Limit (TLV-STEL) (workplace allowable
exposure for 15 min. followed by 1.75 hrs, of no exposure) - 0.3 ppm.

World Health Organization (WHO), 2000, Air Quality Guidelines for Europe; General
Public

Air Quality Guideline Value (0.5 hour) - 0.08 ppm

Health Canada (HC), Residential Indoor Air Quality Guidelines: General Public ®
One (1) hour exposure limit - 0.1 ppm .
Eight (8) hour exposure limit - 0.04 ppm

National Institute for Occupational Safety & Health (NIOSH), Centers for Disease
Control & Prevention (CDC), US Department of Health & Human Services; Workplace
Exposure Standard ’ .

Recommended Exposure Limits:
TWA up to 10 hour work day/40 hour work week - 0.016 ppm
Ceiling (never exceed) - 0.1 ppm

Immediately Dangerous to Life and Health (IDLH) - 20 ppm

Agency for Toxic Substances and Disease Registry (ATSDR), Centers for Disease
Control & Prevention (CDC), US Department of Health & Human Services; General
Public

Minimal Risk Levels (MRL)

4 ACGIH, Documentation of Threshold Limit Values and Biological Exposure Indices, 2001

> World Health Organization, Air Quality Guidelines for Europe - Formaldehyde, Copenhagen, DE,
2001 http:/Avww.euro.who,int/document/aiq/S_8formaldehyde.pdf

® Wealth Canada, Residential Indoor Air Quality Guideline - Formaldehyde , 2006
http://www he-sc.gc.calewh-selnt/alt for ats/hecs-sesc/pdf/pubs/air/formaldehyde-eng.pdf

7 NIOSH, NIOSH Pocket Guide to Chemical Hazards, 2005
http://Awww.cdc.gov/niosh/npg/npgd0293 html

® ATSDR, Minimal Risk Levels (MRLs) for Hazardous Substances, 2007
hitp://www.atsdr.cde.gov/mrls/index.html

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G,

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Acute MRL (exposure < 14 days) - 0.04 ppm

Intermediate Duration MRL (exposure 14 days to 365 days) - 0.03 ppm
_ Chronic duration MRL (exposure > 1 year) - 0.008 ppm

California Environmental Protection Agency (CEPA), Office of Environmental Health
Hazard Assessment; General Public °

As low as possible (assuming concentrations < background not achieved), or:
Recommended exposure limits (REL)

Acute REL (1 hour) - 0.076 ppm

Intermediate REL (8 hour) - 0.027 ppm

Chronic REL - 0.0024 ppm

In evaluating the exposure standards presented above, it is important to understand that a
Workplace Exposure Standard is, as the name implies, based on the contaminant
concentration in air for which it is believed that nearly all workers may be repeatedly
exposed, day after day, without adverse effect, based on a conventional 8-hour workday
and a 40-hour work week, without adverse effect. The population used to establish
workplace exposure standards consists of adults, generally males, in relatively good
health.

General Public Exposure Standards are significantly lower than Workplace Exposure
Standards for two predominant reasons: 1) the General Public contains many subsets of
sensitive individuals (the elderly, the very young, immuno-compromised individuals,
individuals with respiratory disease, etc.) that are excluded from the workplace model
and 2) the General Public will have an exposure duration that far exceeds the “8-hour
workday and 40-hour work week” exposure basis of workplace standards.

For these reasons, the OSHA, NIOSH, and ACGIH formaldehyde workplace exposure
standards cannot be competently applied as guidance when evaluating the General
Public’s exposures.

3. Sample Collection Media —

A.

Passive Sampler - The passive sample collection media (diffusive sampler) used in the
formaldehyde sampling of the THU was the AT Laboratories Model 571 Aldehyde
Sampler, manufactured by AT Laboratories, 1252 Quarry Lane, Pleasanton, CA 94566.
Formaldehyde is collected on a glass fiber filter treated with 2,4-dinitrophenylhydrazine
(2,4 DNPH) and phosphoric acid. When the diffusive sampler is exposed in a
formaldehyde containing environment there is a concentration gradient between the

_ ? California EPA, ARB, Indoor Air Quality Guideline - Formaldehyde in the Home, 2004
http:/Awww.arb.ca.gov/researchiindoor/formaldgl08-04 pdf

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ambient air and sampler interior air. This gradient is the force that drives the contaminant
molecules to migrate into the diffusive sampler, The direct chemical reactions between
formaldehyde and 2,4 DNPH take place in the sampler, insuring there is virtually no free
formaldehyde vapor molecules in the air inside. Thus, the full concentration gradient is
maintained during exposure. In the laboratory, the sample filter is extracted with
acetonitrile and analyzed by HPLC using a UV detector.

Opening its integral cover to expose the collection media to the atmosphere to be sampled
actuates the diffusive sampler. At the completion of sampling, the cover is closed,

ending the sampler’s exposure.to the atmosphere, The sampler is returned to its shipping
envelope, sealed, the envelope is then placed in a sample bag, sealed, placed on ice in an
insulated cooler, and sent to the laboratory for analysis.

The availability of diffusive samplers for formaldehyde is plentiful and inexpensive.
Two sources of the diffusive samplers for formaldehyde, both with American Industrial
Hygiene Association (ATHA) accredited laboratories, and associated costs are noted

’ below:

1. AT Laboratories quotes the following costs for the Model 571 Aldehyde
Sarapler, in quantity:

2 5,000 Samplers and Analyses per year: $31.80 each.
b.  °7,000 Samplers and Analyses per year: $29.60 each.

2. Advanced Chemical Sensors, Inc. quotes the following costs for the ACS
Formaldehyde Vapor Monitox (Cat. No, F-50), in quantity: 500 Monitors and
Analyses: $29.90 each.

The quotations and AIHA accreditations for each manufacturer/laboratory are contained
in Attachment 7. Specimen samples of each device are included in the Reliance
Materials that accompany this document.

Active Sampler - The active sample collection media used in the formaldehyde
sampling of the THU was the SKC, Inc, 226-119 Sorbent Tube, manufactured by SKC,
Inc., 863 Valley View Road, Eighty Four, PA 15330, The sorbent tube is made of glass
and contains silica gel doped with 2,4-dinitrophenylhydrazine (2,4 DNPH). A sample is
collected by opening the glass tube, connecting it to a sample pump, and drawing air
through the tube with the pump. The Sorbent Tube is prepared for sampling by removing
both fused ends of the tube using a tube scorer/breaker or wire cutters and inserting the
opened tube into the sample train inlet hose. The atmosphere to be sampled is
introduced, through the tube, by ihe motive force of the sample pump. Formaldehyde in
the sampled atmosphere is collected in the 2,4 DNPH treated silica gel matrix. The tube
is then sealed with push-on caps, further sealed with laboratory film, and sent to the
laboratory for analysis.

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9, Sampling Methodology - The formaldehyde sampling methods employed in determining the
concentrations in the Dubuclet THU are described below. The sampling methods employed
comply with Formaldehyde Sampling: Active and Passive Sampling Protocols" (Sampling
Protocol). _ ,

A. Passive Sampling -

Passive Dosimetry was employed, using an Assay Technology, Inc., ChemDisk 571
Aldehyde Monitor (Monitor), Sampling was conducted, by William D, Scott, on July 8"
and 9", 2009. The Monitor was placed in the Bedroom, on the left Night Stand, at 28"
above floor level to simulate the breathing zone of a recumbent person occupying the
bed, The Monitor was exposed to the environment for approximately twenty-two and
one-half hours,

At the completion of the sampling period, the Monitor was recovered, closed, placed in
the shipping envelope and sealed, The shipping envelope is then placed in a sample bag,
sealed, placed on ice in an insulated cooler, and shipped via overnight delivery to the
Laboratory for analysis. Field data collection records for the Sampling Event are
contained in Attachment 4. ,

B. _ Active Sampling -

Active sampling, in accordance with NIOSH Method 2016 '' (Method), was conducted
on July 8", 2009, by William D. Scott. Active sampling was conducted by the use of a
battery operated personal sampling pump (Air One, Model TI-004, Serial No. 18104),
connected with flexible tubing to an SKC 226-119 sorbent tube (Sample Tube). The
sample train was calibrated prior to and following the Sampling Event using a mini-Buck
Calibrator (Model M-30B, Serial No. A40033). The sample train was placed in the
Bedroom, on the left (facing the hitch) Night Stand, with the sample tube inlet at a height
of 28" above floor level to simulate the breathing zone of a recumbent bed occupant. The
sampling duration was 30 minutes. Based on the calibrated sample train flow rate and
duration, the sample volume was determined.

At the completion of the sampling period, the Sample Tube was recovered, sealed, placed
in a sample bag, placed on ice, and shipped via overnight delivery to the Laboratory for
analysis. Field data collection records for the Sampling Event are contained in
Attachment 4.

Cc, Interferences -

Passive Sampling was to occur with the THU sealed. Three door openings were
necessary to allow the entry of personnel and equipment to conduct the sampling.

'° Formaldehyde Sampling: Active and Passive Sampling Protocols, DeVany, 2008

" NIOSH, Method 2016 (Formaldehyde), Issue 2, NIOSH Manual of Analytical Methods (NMAM),
Fourth Edition, 2003, http://www.cdc.gov/Niosh/nmam/pdfs/2016.pdf

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Active Sampling was to occur with the THU sealed. Two door openings were necessary
to allow the entry of personnel and equipment to conduct the sampling. Field data
collection records for the Sampling Event are contained in Attachment 5.

Additional Sampling -

The glass debris observed on July 2, 2009, during the Pre-Sampling Inspection, was
collected. The glass debris was transferred, using a non-shedding nylon 4” brush, to a
laboratory certified glass container with screw top, and placed, under chain of custody,
into secure storage at the Scott Group office. This sample is designated 3070-01-FW.

_ . The Chain of Custody document and photographs are contained in Attachment 7,

‘Laboratory Analysis

A.

All samples were analyzed in accordance with NIOSH Method 2016 (Formaldehyde),
Issue 2, 15 March 2003 (Method). The Method employs High Performance Liquid
Chromatography with Ultraviolet Detection (HPLC UV) as the analysis method.

All samples were analyzed by AT Labs, a Unit of Assay Technology, 250 DeBartolo
Place, Suite 2525, Youngstown, OH 44512, AT Labs is an American Industrial Hygiene
Association (AIHA) Industrial Hygiene accredited laboratory, number 100903.

Results - The following, summarized results for the Sampling Events are presented below:
Sample Number Sample Location Monitor Result | Tube Result HCOH
HCOH (ppm) (ppm)
- GL 1969 MBR @ Night Stand 0.34 N/A
2917200296 MBR @ Night Stand N/A 0.23

Laboratory reports and chain of custody documents are contained in Attachment 5.

Conclusions -

A.

Passive Sampling - The Passive Dosimetry (Sample Number GL 1969) result was a
formaldehyde concentration in air of 0.34 ppm or 340 parts per billion (ppb). The

average of sample start and sample stop THU interior temperature was 87.2° F, The
average of sample start and sample stop THU interior relative humidity was 67.2 %.

Active Sampling - The Active Sampling (Sample Number 2917200296) result was a
formaldehyde concentration in air of 0.23 ppm (230 ppb). The ambient outdoor

temperature for the duration of the sampling event was 88° F. The average THU interior
temperature was 84.1° F. The average THU interior relative humidity was 74.4 %.

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Cc. Formaldehyde Concentration Variance Over Time -

The off gassing rates of formaldehyde containing building materials over time have been
well documented. The rate at which formaldehyde emission levels decrease is not
constant, but decreases with time. Generally, formaldehyde emission levels decrease
linearly with respect to the natural log of time. In simple terms, the rate of off gassing of
formaldehyde containing building materials decreases over time.

The Sampling Event occurred approximately 39 months after the THU was constructed
(03/06). Therefore, the formaldehyde concentrations measured in the THU occurred well
after the initial peak formaldehyde off gassing period. This implies that the actual peak
and average formaldehyde concentrations experienced by the THU’s occupants
significantly exceeded the concentrations observed in the Sampling Event.

‘The same conclusion was reached by the U. S. Centers for Disease Control and
Prevention (CDC) regarding their study of formaldehyde concentrations of 519 FEMA-
supplied occupied travel trailers, park models, and mobile homes conducted in
December/January, 2008: These measured levels probably under-represent occupant
exposures in the early months of occupation and even the average exposure over time the
trailers were occupied because formaldehyde levels tend to be higher in newly
constructed trailers and during warm weather.”

D. Temperature Effects -

The fact that formaldehyde off gassing rates from materials (and resulting formaldehyde ©
concentrations in air in enclosed spaces) vary directly with both temperature and relative
humidity is well documented,

ASTM Standard E 1333-96 '* shows that the effect of temperature on measured _
formaldehyde concentration is characterized by the expression:

C. = Cee ROT- 170)
o

Where:
C =test formaldehyde concentration in air
C, = corrected formaldehyde concentration in air
e =exponential function
R_ =coefficient of temperature (9799)
T =actual temperature K ,
T, = corrected temperature, K

? CDC, Final Report on Formaldehyde Levels in FEMA-Supplied Travel Trailers, Park Models, and
Mobile Homes; Conclusions, 2008, http://www.ede.gov/nceh/ehhe/trailerstudy/restdents.htm

3 ASTM, Standard E1333-96 (2002) Standard Test Method for Determining F ormaldehyde
Concentrations in Air and Emission Rates from Wood Products Using a Large Chamber, West
Conshohocken, PA, 2002

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Thus, the increase to an average temperature of 87.2°F for the Passive Sampling Event,
from the average temperature of 84.1°F encountered in the THU in the Active Sampling
Event, results in a temperature adjusted Active Sampling airborne formaldehyde
concentration of approximately 0.29 ppm (290 ppb) from the measured 0.24 ppm (240
ppb). On the basis of temperature effects, the adjusted Active Sampling formaldehyde
concentration is approximately 85% of the Passive Sampling result.

The temperature correction, alone, confirms that the results obtained by both Sampling
Events are consistent,

E. Ventilation -

Active Sampling was performed without the HVAC system in operation and with the
. THU openings shut (with the exception of limited door openings to admit personnel).
Passive sampling was performed without the HVAC system in operation and with the
THU openings shut (with the exception of limited door openings to admit personnel).

F. Comparison of Dubuclet Trailer Sampling Results With Published Standards -

Using only the results of Sample Number 2917200296 that measured 0.24 ppm (240 ppb)
formaldehyde in air (the lowest concentration measured in the THU) for clarity, the
following comparisons are presented:

1, The Sample Number 2917200296 result exceeds the World Health Organization
(WHO), Air Quality Guidelines for Europe; General Public; Air Quality
Guideline Value (0.5 hour) - 0.08 ppm

2. The Sample Number 2917200296 result exceeds the Health Canada (HC),
Residential Indoor Air Quality Guidelines; General Public; Eight (8) hour
exposure limit - 0.04 ppm

3, The Sample Number 2917200296 result exceeds the National Institute for
Occupational Safety & Health GNIOSH), CDC; Workplace Exposure Standard;
Recommended Exposure Limits: TWA up to 10 hour work day/40 hour work
week - 0.016 ppm

4, The Sample Number 2917200296 result exceeds the Agency for Toxic
Substances and Disease Registry (ATSDR), CDC; General Public; Minimal Risk
Levels (MRLs):

Acute MRL (exposure < 14 days) - 0,04 ppm
Intermediate Duration MRL (exposure 14 days to 365 days) - 0.03 ppm
Chronic duration MRL (exposure > 1 year) - 0.008 ppm

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5. The Sample Number 2917200296 result exceeds the California Environmental
Protection Agency (CEPA), Office of Environmental Health Hazard Assessment;
General Public; Recommended Exposure Limits (REL):

Intermediate REL (8 hour) - 0.027 ppm
Chronic REL - 0.0024 ppm

A graphical comparison of Dubuclet Trailer Sampling Results compared with Published
Standards is contained in Attachment 9.

G. Comparison of Dubuclet Trailer Sampling Results With CDC Results -
The CDC, in its Final Report, stated the following:

1, The range of formaldehyde concentrations detected in the forty-seven Fleetwood
travel trailers sampled was 0.003 ppm (3 ppb) to 0.140 ppm (140 ppb). The
CDC’s Fleetwood data set’s geometric mean was reported as 0.039 ppm (39

ppb).

2. The range of formaldehyde concentrations detected in the thirty-nine Fleetwood
CA travel trailers sampled was 0.007 ppm (7 ppb) to 0.300 ppm (300 ppb). The
CDC’s Fleetwood CA data set’s geometric mean was reported as 0.043 ppm (43
ppb).

The CDC Report noted: Our study was done in the winter months of December 2007
through January 2008, when people had already lived in the trailers and mobile homes
for two years. The formaldehyde level was probably higher in newer trailers and mobile

homes and when the weather was warmer, \*

Given the behavior of formaldehyde concentrations in air with respect to temperature (as
shown in paragraph D, above) and the actual formaldehyde concentrations measured in
the Dubuclet THU Sampling Event, the Sampling Event results are consistent with the
CDC’s findings for the Fleetwood THUs,

4 op C, Final Report on Formaldehyde Levels in FEMA-Supplied Travel Trailers, Park Models, and
Mobile Homes; Conclusions; 2008, hitp://www.cdc.gov/nceh/ehhe/trailerstudy/residents.htm

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AFFIDAVIT OF WILLIAM D. SCOTT, PE, CHMM

I reserve the right to submit further affidavits ifso deemed necessary.

FURTHER AFFIANT SAYETH NOT.

Thus, signed and sworn on this 17" day of July, 2009

1117 Wright Avenue
Gretna, Louisiana 70056

Notary Ppplic Signature

linda FT Merced

Notary Public Name

lr bar # I42e
Notary Number

ure hfe.

Commission Expires

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EXHIBIT 5
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AFFIDAVIT OF STEPHEN SMULSKI, Ph.D.

~ PARISH OF ORLEANS

STATE OF LOUISIANA

th
BEFORE Mé, the undersigned notary, appeared on this the fo day of July, 2009, Stephen Smulski,

Ph.D., a person whose identity is known to me. After being sworn under oath, he stated as follows:

1. All statements contained herein are true and correct and based upon my personal knowledge,
education and experience, and | am a person of the full age of majority, competent to execute
this affidavit.

|, Stephen Smulski, Ph.D., aver as follows:

1. lama consulting wood scientist and the President of Wood Science Specialists Inc., 453 Wendell

Road, Shutesbury, Massachusetts, 01072.

2. lam an expert in wood science and technology, specifically the anatomical, mechanical,
physical, and chemical properties of wood and wood-based materials as well as the
manufacture, use, and in-service performance of wood and wood-based products in residential,

commercial, and industrial wood-frame construction.

3. [hold a B.S degree in Wood Science and Technology from the University of Massachusetts at
Amherst, an M.S. degree in Environmental! and Resource Engineering from the State University
of New York at Syracuse, and a Ph.D. degree in Wood Science and Forest Products from Virginia
Tech at Blacksburg. ! have published numerous articles on wood and wood-based products and
have given many invited lectures on the same. A true and correct copy of my curriculum vitae is

attached hereto and marked “Exhibit A”.

4. lam familiar with the manufacture, properties, use, and In-service performance of wood-based
composite panels including particleboard, medium density fiberboard, and hardwood plywood.

For thirteen years, while on the faculty of the Building Materials and Wood Science program at

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the University of Massachusetts at Amherst, | taught a course entitled Wood Adhesives

Technology that covered all aspects of these and other glued wood products.

5. |am familiar with the propensity of wood-based composite panels including particleboard,
medium density fiberboard, and hardwood plywood to release formaldehyde gas after being
placed in service because of the formaldehyde-containing adhesives (also referred to as resins)
used in their manufacture and that exposure to formaldehyde gas can cause adverse health
effects. | taught this to my students from 1985 to 2001 while at the University of Massachusetts.
In 1987, | published an article entitled “Formaldehyde Indoors” that summarized the then-
current knowledge about the release of formaldehyde gas from wood-based composite panels
including particleboard, medium density fiberboard, and hardwood plywood used in site-built
houses and in factory-built manufactured houses and the adverse health effects that exposure
to formaldehyde gas can cause. In 1989, | gave an invited lecture at the Northeast Solar Energy
Association Advanced Residential Construction Conference entitled “Health Aspects of Building
Products: Wood Products” in which | spoke about the release of formaldehyde gas from wood-
based composite panels including particleboard, medium density fiberboard, and hardwood
plywood and the adverse health effects that exposure to formaldehyde gas can cause. lam
familiar with the Material Safety Data Sheets that the makers of wood-based composite panels
including particleboard, medium density fiberboard, and hardwood plywood make available to

the users of their products that state that these products contain and release formaldehyde gas.

6. [am aware that the release of formaldehyde gas from wood-based composite panels including
particleboard, medium density fiberboard, and hardwood plywood is greatest in newly-
manufactured products and that, after being placed in service, the release of and concentration .
of formaldehyde gas in the air inside buildings or structures containing these products depends
on the age and number of sources, the volume of air inside the building or structure, and on the
air temperature, relative humidity and air exchange rate (i.e., ventilation). The release of
formaldehyde gas from these products increases as temperature and relative humidity increase.
The concentration of formaldehyde gas inside a building or structure containing these products
also increases as the number of sources Increases and as the volume ofthe building or structure

and the air exchange rate {i.e., ventilation) decrease.

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7.

10.

lam familiar with the methods for reducing the release of formaldehyde gas from particleboard
and medium density fiberboard recommended by the Composite Panel Association (formerly
the National Particleboard Association) in its publications “From Start To Finish Particleboard”
and “From Start To Finish Medium Density Flberboard” which were first published in 1986 and
periodically since. Many of these same methods for reducing the release of formaldehyde gas
from particleboard and medium density fiberboard are directly applicable to other wood

composite panels including hardwood plywood.

|am aware that decorative overlays applied to wood-based composite panel products such as
particleboard, medium density fiberboard, and hardwood plywood retard, but do not prevent,
the release of formaldehyde gas through the surface over which they are applied. The efficacy of
an overlay in retarding the release of formaldehyde gas from particleboard, medium density
fiberboard, and hardwood plywood varies widely and depends on the type and properties of the

overlay.

lam aware that FEMA supplied a Fleetwood Enterprises, Inc. 32FSH model travel trailer (VIN
ACJ1F322764015272, FEMA trailer 1373963) to Ms. Elisha Picot Dubuclet who lost her home in
the wake of hurricane Katrina that hit the Gulf Coast on August 29, 2005. The traller was
manufactured in March 2006. It is my understanding that the trailer was then. sent to and
installed at 6046 Dorothea Street, New Orleans, Louisiana. Ms. Dubuclet, her daughter Timia
Dubuclet, her son Timothy Dubuclet, and Ms. Leslie Picot (Timia’s grandmother} lived in the

trailer from on/about June 2006 to on/about September 2007.

On July 9, 2009, | visually examined the trailer, | observed that most of the interior of the trailer
including the walls, ceiling, doors, cabinets, countertops, built-in seating and other furniture,

and bed support are constructed from-the wood-based composite panel products particleboard,

_ medium density fiberboard, and hardwood plywood that are known to release formaldehyde

gas after being placed in service. In most cases, the product’s visible face is covered with a

decorative overlay but its back and edges are exposed wood with no overlay. In some cases, the

product’s back and/or edges has an overlay or edge band. A list of these items is attached

hereto and marked “Exhibit B”,

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11. The trailer was installed in New Orleans, Louisiana, a location whose climate for much of the

12.

year is hot and humid. These are the exact conditions that increase the release of formaldehyde -
gas from wood-based composite panels including particleboard, medium density fiberboard,

and hardwood plywood.

The volume of air inside the trailer is small—approximately 1658 ft.’—and its air exchange rate

{i.e., ventilation) is low. These are the exact conditions that increase the concentration of

- . formaldehyde gas inside the trailer.

13:

14.

] have reviewed the 2006 Owner's Manual for the trailer. On page 03-1 it states “The particle
board, hardwood plywood, or paneling used in your RV are made with urea-formaldehyde resin.
The companies that supply us with these materials have asked that we tell you about urea-
Jormaidehyde with the statements on this page.” The statements are:

IWARNING oO,

This product is manufactured with urea-formaldehyde resin. Formaldehyde vapor may in some
people cause headaches, eye, nose and throat irritation, and aggravation of allergies and
respiratory problems, such as asthma. Proper ventilation should reduce the risk of such
problems.

WARNING
This product is manufactured with a urea-formaldehyde resin and will release small quantities of
formaldehyde. Formaidehyde levels in the indoor air can cause temporary eye and respiratory
irritation, and may aggravate respiratory conditions or allergies. Ventilation will reduce indoor
formaldehyde levels.

IWARNING
irritant: This product contains a urea-formaldehyde resin and may release formaldehyde vapors
in low concentrations. Formaldehyde can be irritating to the eyes and upper respiratory system
of especially susceptible persons such as those with allergies or respiratory ailments. Use with
adequate ventilation. if symptoms develop, consult your physician.

A near-identical warning notice is affixed to the rear of the mirror on the medicine cabinet.

| am aware that the trailer was installed by inserting multiple supports beneath its frame. It is
my understanding that during the process of installation that the frame and exterior shell can
bend and twist, causing sealed joints in the walls, roof, ceiling, and floor to open. This can allow

formaldehyde gas inside the wall and ceiling cavities to more easily enter the living space and

increase the concentration of formaldehyde gas inside the trailer. It can also allow hot, humid

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15,

air and rain to enter into the wall, ceiling, and floor cavities, causing the relative humidity inside

the cavities to rise.

Even in the absence of installation-caused damage to the trailer, formaidehyde gas will escape

from the exposed raw wood on the back and edges of the wall and ceiling panels and
accumulate inside the wall and ceiling cavities. The formaldehyde gas will then naturally enter
the living space, with differences in temperature, vapor pressure, and air pressure across the

trailer’s walls and ceiling providing the driving force for moving the air-borne gas through joints

__ and penetrations in the walls and ceiling {e.g., switch plates, electric receptacles, air-

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17,

18.

conditioning grilles, ceiling light fixtures, seams between panels). In addition, formaldehyde gas
will naturally escape through the overlay on these panels’ faces (much more slowly, of course)
as well as from the products that are fully inside the trailer (¢.g., cabinets, bed support, built-in

seating and furniture).

On July 8-9, 2009, more than three years after the trailer was manufactured and lived in, the W.
D. Scott Group, Inc. measured the formaldehyde level inside the trailer at the left nightstand in
the bedroom and reported it to be 230 parts per billion (0.230 ppm) by the active tube sample
method and 340 ppb (0.340 ppm) by the passive badge dosimeter method (temperature 84 °F,
relative humidity 63-85%).

A sticker affixed to the exterior of the trailer to the Jeft of the entrance door states that the
trailer supplied by FEMA to Ms. Dubuclet is an Emergency Living Unit 1015188. The sticker
states that MANUFACTURER CERTIFIES COMPLIANCE WITH FEMA SPECIFICATIONS and that the
trailer is NOT INTENDED FOR RECREATIONAL USE. .

An advisory on page 05-4 of the 2006 Owner’s Manual states that:

‘NOTE

Your trailer is not designed to be used as permanent housing. Use of this product for long term or
permanent occupancy may lead to premature deterioration of structure, interior finishes, fabrics,
carpeting and drapes.

The accompanying text describes how condensation can form inside the trailer and cause
damage to the trailer. It explains how occupants can reduce or eliminate condensation by

reducing the amount of moisture released into the air inside the trailer and by increasing the

ventilation by running the kitchen and bath exhaust fans, and by opening the roof vent and

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19.

20.

windows. Although the text in the 2006 Owner’s Manual explicitly addresses condensation

caused by water vapor in the air inside the trailer, the underlying principles apply to all gases in

the air inside the trailer including formaldehyde gas. Fleetwood Enterprises, Inc. could have
reduced the concentration of formaldehyde gas inside the trailer by reducing the number of
formaldehyde-emitting wood composite products it used to construct the trailer and by

increasing the ventilation with a built-in mechanical system.

Ms. Dubuciet, Timia, Timothy, and Ms. Picot were subjected to chronic exposure to

formaldehyde gas as a consequence of using this trailer as long-term housing.

| have reviewed reports regarding the levels of formaldehyde measured inside all types of
FEMA-supplied emergency housing units including “An Update and Revision of ATSDR’s February
2007 Health Consultation: Formaldehyde Sampling of FEMA Temporary-Housing Trailers Baton
Rouge, Louisiana, September-October, 2006” by the U.S. Department of Health and Human
Services dated October 2007; “Final Report on Formaldehyde Levels in FEMA-Supplied Travel -
Trailers, Park Models, and Mobile Houses” by the Centers for Disease Control and Prevention
dated July 2, 2008; and “Aldehyde and Other Volatile Organic Chemical Emissions in Four FEMA
Temporary Housing Units—Final Report” by the Environmental Energy Technologies Division
Lawrence Berkeley National Laboratory dated November 2008, The formaldehyde levels
measured inside many of the emergency housing units, some two or more years after being
placed in service, equal or exceed the 100 ppb threshold that the Centers for Disease Controi
and Prevention (CDC) identifies in its July 2, 2008, report as “the level at which health effects
have been described in sensitive persons”. The formaldehyde levels measured inside many of the
emergency housing units, seme two or more years after being placed in service, equal or exceed
ATSDR’s chronic minimal risk level of 8 ppb for an exposure period of 365 days or longer,
ATSDR’s intermediate minimal risk level of 30 ppb for an exposure period of 15 to 364 days, and

ATSDR’s acute minimal risk level of 40 ppb for an exposure period of up to 14 days.

in December 2007 and January 2008 the CDC measured formaldehyde levels inside forty-seven
Fleetwood and thirty-nine Fleetwood CA FEMA-supplied travel trailers installed in Louisiana and
Mississippi, All trailers were occupied; some were two or more years old. In its “Final Report on
Formaldehyde Levels in FEMA-Supplied Travel Trailers, Park Models, and Mobife Houses” dated
July 2, 2008, the CDC reported that the average formaldehyde level inside the Fleetwood trailers

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was 39 ppb with a range of 3-140 ppb. The formaldehyde level in six percent of the Fleetwood
trailers was equal to or greater than 100 ppb. The average formaldehyde level inside the
Fleetwood CA trailers was reported by the CDC to be 43 ppb with a range of 7-300 ppb. The .
formaldehyde level in thirteen percent of the Fleetwood CA trailers was equal to or greater than

100 ppb and in three percent of the trailers the formaldehyde level was equal to or greater than

~ 300 ppb.

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In summary, five factors affect the release of and concentration of formaldehyde gas in the air
inside a travel trailer: i) the age and number of formaidehyde-emitting wood composite
products used to construct the trailer; ii) the volume of air inside the trailer; iil) the trafler’s air
exchange rate (i.¢., ventilation); iv} the temperature inside the trailer; and v) the relative
humidity inside the trailer. The release of formaldehyde gas inside a trailer is greatest in newly-
manufactured products and increases as temperature and relative humidity increase. The
concentration of formaldehyde gas inside a trailer increases as the number of sources increases
and as the volume of air inside the trailer and the air exchange rate (i.e., ventilation} decrease.
All five of these factors were acting individually and in concert to increase the release of and
concentration of formaldehyde gas inside the Fleetwood Enterprises, Inc. 32FSH model travel

trailer FEMA supplied to Ms. Dubuclet.

Three of the five factors that affect the release of and concentration of formaldehyde gas inside
the trailer are largely beyond the control of manufacturer Fleetwood Enterprises, inc.—the
volume of air inside the trailer (factor ii), temperature (factor iv), and relative humidity (factor
v). The other two factors—the number of formaldehyde-emitting wood composite products

used to construct the trailer (factor i) and the air exchange rate (i.¢., ventilation) (facter iii) were

determined by Fleetwood Enterprises, Inc.

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in November 2007 the Lawrence Berkeley National Laboratory measured formaldehyde gas
levels inside four never-occupied FEMA travel trailers. (No Fleetwood Enterprises, Inc. travel
trailer was among those examined by the LBNL.) In its “Aldehyde and Other Volatile Organic
Chemical Emissions in Four FEMA Temporary Housing Units—Final Report” dated November
2008, the LBNL reported that “We conclude that whole trailer formaldehyde emission factors are
high, but the materials may be within those commonly found in the building industry. [In other

words, the concentration of formaldehyde gas inside the trailers is high even though the wood-

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24.

based composites used to construct them meet the formaldehyde gas emission limits of HUD -
Standard 24 CFR Chapter XX Part 3280 Manufactured Home Construction and Safety Standards.
The HUD Standard requires that wood composite products be tested under the specific
conditions set forth in ASTM E 1333 Standard Test Method for Determining Formaldehyde’
Concentrations in Air and Emission Rates from Wood Products Using a Large Chamber, Under
the HUD Standard the maximum amount of formaldehyde gas that can be released is 200 ppb
for hardwood plywood and 300 ppb for particleboard. Wood composite products that meet the
HUD standard are referred to as low formaldehyde emission or LFE.] This indicates a difference
in the construction/design [which is determined by Fleetwood Enterprises, Inc.] that may lead to
elevated concentrations ‘and whole trailer emission rates. Three features of material application

in the THUs differ from most other dwellings: 1) the extensive use of lightweight composite wood

products [factor i], 2) very high surface loading of composite wood products [factor i] and 3) low

fresh air per unit surface area of composite wood products in the THUs [factor iii], The LBNL
‘concluded that “The high loading factor (material surface area divided by THU volume) of
composite wood products in the THUs [factor i] and the low fresh air exchange relative to the
material surface area [factor iii] may be responsible for the excessive concentrations observed

for some of the VOCs and formaldehyde.”

The current formaldehyde gas problem in the FEMA-supplied travel trailers could have been
prevented had Fleetwood Enterprises, tnc, (and FEMA) employed the mitigation techniques
detailed in the extensive body of literature documenting an identical formaldehyde gas problem
that plagued HUD-Code manufactured houses in the 1970s and early 1980s for ideniical
reasons. At that time the subfloor, walls, ceiling, doors, and cabinets in HUB-Code manufactured
houses were constructed fram particleboard, medium density fiberboard, and hardwood

plywood that released formaldehyde gas after being placed in service. The HUD-Code

_ manufactured houses of that time were small in volume and had a low air exchange rate (i.e.,

25.

ventilation); complaints about formaldehyde gas were common. The problem was investigated,
its causes identified, solutions put in place, and by the late 2980s formaidehyde gas inside HUD-

Code manufactured houses ceased to be a problem.

Fleetwood Enterprises, Inc. was aware of the formaldehyde gas problem that plagued HUD-
Code manufactured houses in the 1970s and 1980s. Fleetwood Enterprises, Inc. designed and

built HUD-Code manufactured houses in the 1970s and 1980s. Fleetwood Enterprises, Inc.

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26.

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several times hired consulting engineers Resources Applications, Designs and Controls, Inc.
(RADCO) to, among other things, identify the materials that Fleetwood Enterprises, Inc. used in
its HUD-Code manufactured houses that released formaldehyde gas and to evaluate various
methods of reducing the amount of formaldehyde gas inside its HUD-Code manufactured .

houses. In its report to Fleetwood Enterprises, Inc. dated April 30, 1979, RADCO identified urea-

_ formaldehyde bonded lauan paneling (i.e., tropical hardwood plyweed) and particleboard as

“significant contributors” of formaldehyde gas. In the report RADCO advised Fleetwood
Enterprises, Inc. that “The best solution would obviously be to reduce or eliminate the excess
HCHO [i.e., formaldehyde} at the point of material manufacture.” and that “Induced outside air
ventilation was found to be the most effective means of reducing the HCHO level in a home.”
Although these statements explicitly address formaldehyde gas in HUD-Code manufactured
houses, the underlying principles apply to all buildings and structures including travel trailers.
Fleetwood Enterprises, Inc. could have modified its materials and construction and design
practices for its travel trailers based on its own prior experience with formaldehyde gas in its

HUD-Code manufactured houses.

Fleetwood Enterprises, Inc. could have reduced the number of formaldehyde-emitting products
inside the trailer by using wood-based composites that either do not emit formaldehyde
{hardwood plywood, medium density fiberboard, and particleboard are also made with
adhesives that do not contain formaldehyde) or emit so little formaldehyde that they are
exempt from the HUD standard (hardboard for walls and ceilings Instead of hardwood plywoed).
At the time this trailer was manufactured, Fleetwood Enterprises, Inc. had available to it

alternative materials that, if used, would have emitted little or no formaldehyde gas.

It is my understanding that Fieetwood Enterprises, Inc. used only low formaldehyde emission
{LFE} wood composite products in its travel trailers. At the time the wood composite products

Fleetwood Enterprises, Inc. used in the Dubuclet trailer were manufactured (prior to March

2006}, the LFE designation meant only that the wood composite products did not emit more

than a specified maximum amount of formaldehyde gas when tested under the specific
conditions set forth in ASTM E 1333 Standard Test Method for Determining Formaldehyde
Concentrations in Air and Emission Rates from Wood Products Using a Large Chamber (200 ppb

for hardwood plywood and 300 ppb for particleboard). The LFE designation is not a predictor of

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28,

what the actual concentration of formaldehyde gas will be inside a travel trailer (or any other

kind of building or structure} constructed with LFE wood composite products. This is because

the release of and concentration of formaldehyde gas in the air inside a travel trailer depends

upon the interaction of: i) the age and number of formaldehyde-emitting wood composite
products used to construct the trailer; ji} the volume of air inside the trailer; ifi) the trailer’s air
exchange rate {i.e., ventilation); iv} the temperature inside the trailer; and v)} the relative -

humidity inside the trailer.

The HUD Standard for LFE wood composite products was recently superseded by the California
Air Resources Board (CARB) Standard to further reduce the amount of formaldehyde gas to
which the users of products made with wood compesite products, including travel trailers, are
exposed. The CARB Standard Phase One became effective January 1, 2009. Under the CARB
Standard Phase One, the maximum amount of formaldehyde gas that can. be released from
wood composite products when tested under ASTM E 1333 is: i) less than 80 ppb for hardwood
plywood; ii) less than 180 ppb for particleboard; and iii) less than 210 ppb for medium density
fiberboard, The maximum formaldehyde gas emission levels will be even lower under the CARB
Standard Phase Two that takes effect In 2010 and 2011. The Recreational Vehicle Industry
Association (RVIA), of which Fleetwood Enterprises, Inc. is a member, recently adopted the
CARB Standard. As a condition af membership in the RVIA, companies that manufacture
recreational vehicles including travel trailers must use only wood composite products that meet

the CARB Standard also beginning January 1, 2009. In November 2008, FEMA released a new

_ specification for travel trailers to be used as temporary housing following natural disasters. The

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specification requires that “Once constructed, the unit’s formaldehyde emission level shall be
less than 0.016 ppm [16 ppb] during initial testing period prior to delivery from the
manufacturing plant. No Luan [sic], MDF, vinyl gypsum, or products which contain urea-

formaldehyde will be allowed.”

Fleetwood Enterprises, inc. could have increased the trailer’s air exchange rate {i.e., ventilation}
by equipping it with a mechanical system that blows contaminated indoor air outside and draws
fresh outdoor air inside as has been required in HUD-Code manufactured houses since 1984. If
Fleetwood Enterprises, Inc. had utilized such a mechanical system, it would have reduced the

level of formaldehyde gas inside the trailer.

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30. It is my opinion, to a reasonable degree of scientific certainty, that the Fleetwood Enterprises,
Inc. 32FSH model travel trailer supplied by FEMA to Ms. Dubuclet was not suitable for use as
long-term housing because it was foreseeable and predictable that formaldehyde gas would be
released from the wood-based composite panels including particleboard, medium density
fiberboard, and hardwood plywood used in this trailer and that Ms, Dubuclet, her daughter
Timia, her son Timothy, and Ms. Picot (Timia’s grandmother) would potentially suffer adverse

health effects from chronic exposure to formaldehyde gas.

31, It is my opinion, to a reasonable degree of scientific certainty, that it was unreasonable for
anyone involved in the decision.to use a travel trailer for long-term housing to think that the
health of persons living in this Fleetwood Enterprises, inc. 32FSH model trailer for along period
of time would not be adversely affected given: i) that the propensity for wood-based composite
panels including particleboard, medium density fiberboard, and hardwood plywood to release
formaldehyde gas has been known since the 1970s; ii) that exposure to formaldehyde gas —

_ Causes adverse health effects has been known since the 1970s; iti) that the identical problem
occurred in HUD-Code manufactured houses in the 1970s and early 1980s for identical reasons;
and iv) that the techniques for mitigating formaldehyde gas inside buildings and structures of all

kinds are well-known, widely published, and effective,

| reserve the right to submit further affidavits if so deemed necessary.

FURTHER AFFIANT SAYETH NOT, Z 4

Thus, signed and sworn on this the fe 2 day of July, 2009,

~”

lp’

Stephen Srdiski, Ph.D.
453 Wendell Road
Shutesbury, MA 01072

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